Case 1:11-cv-20427-KMW Document 257-12 Entered on FLSD Docket 02/13/2012 Page 1 of 5




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      Case 1:11-cv-20427-KMW Document 257-12 Entered on FLSD Docket 02/13/2012 Page 3 of 5

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